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10
10    Attorneys for Official Committee of Equity Security Holders
11
11
                                UNITED STATES BANKRUPTCY COURT
12
12                               CENTRAL DISTRICT OF CALIFORNIA
                                  SAN FERNANDO VALLEY DIVISION
13
13
      In re:                                              Lead Case No.: 1:17-bk-12408-MB
14
14                                                        Jointly administered with:
      ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
15
15    corporation,1
                                                          Chapter 11 Cases
16
16              Debtor and Debtor in Possession.
                                                          STIPULATION GRANTING THE
17
17    In re:                                              OFFICIAL COMMITTEE OF EQUITY
                                                          SECURITY HOLDERS STANDING TO
18
18    ICPW Liquidation Corporation, a Nevada              PURSUE CERTAIN ESTATE BASED
      corporation,2                                       CLAIMS
19
19
                Debtor and Debtor in Possession.
20
20                                                        DATE:     December 12, 2017
          Affects:                                        TIME:     1:30 p.m.
21
21                                                        PLACE:   Courtroom “303”
            Both Debtors                                           21041 Burbank Blvd.
22
22
          ICPW Liquidation Corporation, a California               Woodland Hills, CA 91367
23
23    corporation
24
24        ICPW Liquidation Corporation, a Nevada
      corporation.
25
25
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

                                                      1
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 11          This stipulation (the “Stipulation”) is entered into between the Official Committee of

 22   Equity Security Holders (the “Equity Committee”) and the above-captioned debtors and debtors in

 33   possession (the “Debtors”) through undersigned counsel:

 44                                              RECITALS

 55          WHEREAS, on September 7, 2017, Jeffrey Cordes and William M. Aisenberg (the

 66   “Former Officers”) submitted an arbitration demand to JAMS in connection with alleged breaches

 77   of certain employment agreements and related documents, which initiated a proceeding before the

 88   American Arbitration Association (“AAA”), Reference No. 1220057366 (the “AAC Proceeding”);

 99   WHEREAS, on September 8, 2017, the Debtors filed voluntary petitions under chapter 11 of Title
10
10    11 of the United States Code (the “Bankruptcy Code”), commencing Case Nos. 1:17-bk-12408-
11
11    MB and Case Nos. 1:17-bk-12409-MB, in the United States Bankruptcy Court for the Central
12
12    District of California (the “Bankruptcy Court”).
13
13           WHEREAS, the Former Officers filed proofs of claims against the Debtors on October 3,
14
14    2017, which are denominated in the Bankruptcy Court’s files as Claims No. 7 and 8 (collectively,
15
15    the “Proofs of Claim”);
16
16           WHEREAS, the Former Officers filed the Motion Of Jeffrey Cordes And William M.
17
17    Aisenberg For Relief From The Automatic Stay Under 11 U.S.C. [§] 362(Action In Nonbankruptcy
18
18    Forum) (the “Relief From Stay Motion”), as Docket No. 132, and the Debtors’ filed the opposition
19
19    (the “Opposition”) thereto, as Docket No. 169, and the Equity Committee filed a joinder therein, as
20
20    Docket No. 168,
21
21           WHEREAS, on October 15, 2017, the Court temporarily denied the Relief From Stay
22
22    Motion and set related deadlines;
23
23           WHEREAS, the Debtors have or may have claims, objections and causes of action against
24
24    the Former Officers (collectively, the “Claims”), and counter claims and defenses against any of
25
25    the claims asserted by the Former Officers (the “Defenses”), including those claims asserted in the
26
26    Proofs of Claim; and
27
27           WHEREAS, the Debtors and the Equity Committee agreed that the Debtors would grant
28
28    the Equity Committee standing to assert, prosecute, and/or settle any and all of the Debtors’ Claims

                                                         2
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 11   and Defenses on behalf of the Debtors’ estates in the AAA Proceeding, the Bankruptcy Court,

 22   and/or any other forum.

 33           IT IS THEREFORE, STIPULATED, ACKNOWLEDGED, AGREED AND

 44   ORDERED AS FOLLOWS:

 55           1.      The Equity Committee is hereby granted leave, standing and exclusive authority to

 66   assert, prosecute and/or settle on behalf of the Debtors’ estates, subject to Court approval as

 77   necessary, any and all Claims and Defenses in the AAA Proceeding, in the Bankruptcy Court

 88   and/or any other forum.

 99           2.      Neither the Debtors, nor its Board of Directors or Officers makes any
10
10    representations or warranties of any type regarding the validity, viability or existence of any
11
11    Causes of Action and Defenses being assigned to the Equity Committee.
12
12            3.      The Equity Committee is hereby granted, and shall have the joint, nonexclusive,
13
13    right to assert any and all privileges controlled by Debtors, including the attorney-client privilege,
14
14    on behalf of the Debtors’ estate with respect to all claims and causes of action that the Equity
15
15    Committee has been granted standing and authority to assert, prosecute and/or settle on behalf of
16
16    the Debtors’ estate pursuant to this Stipulation.
17
17            4.      Except as expressly set forth herein, all of the Debtors and the Equity Committee’s
18
18    respective procedural and substantive rights, claims, objections and defenses are hereby expressly
19
19    reserved and preserved.
20
20            5.      This Stipulation may not be modified other than by a signed writing executed by
21
21    the parties hereto.
22
22            6.      This Stipulation is subject to, and shall not take effect until, the entry of an Order by
23
23    the Bankruptcy Court approving this Stipulation.
24
24            7.      The Debtor and the Committee shall file a joint motion seeking approval of this
25
25    Stipulation within two (2) business days after its execution by the parties.
26
26            8.      Nothing herein shall be deemed to waive, limit, impair or otherwise prejudice the
27
27    Equity Committee’s rights to seek standing and authority to assert, prosecute and/or settle on
28
28

                                                          3
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Case 1:17-bk-12408-MB                Doc 242 Filed 11/21/17 Entered 11/21/17 14:42:06                                       Desc
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled STIPULATION GRANTING THE OFFICIAL
      COMMITTEE OF EQUITY SECURITY HOLDERS STANDING TO PURSUE CERTAIN ESTATE
  4   BASED CLAIMS will be served or was served (a) on the judge in chambers in the form and manner
      required by LBR 5005-2(d); and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On November 21, 2017, I checked the CM/ECF docket for this bankruptcy
  7   case or adversary proceeding and determined that the following persons are on the Electronic Mail
      Notice List to receive NEF transmission at the email addresses stated below:
  8
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
  9            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 10            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 11            Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 12            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 13             usker.com
               Samuel R Maizel samuel.maizel@dentons.com,
 14             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
                .com;kathryn.howard@dentons.com
 15            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 16            S Margaux Ross margaux.ross@usdoj.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 17            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

 18
      2. SERVED BY UNITED STATES MAIL: On November 21, 2017, I served the following persons and/or
 19   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 20   completed no later than 24 hours after the document is filed.
 21
                                                                              Service information continued on attached page
 22
 23   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 24   on November 21, 2017, I served the following persons and/or entities by personal delivery, overnight
      mail service, or (for those who consented in writing to such service method), by facsimile transmission
 25   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
      overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   Served via Attorney Service
      Hon. Martin R. Barash
  2   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  3   Woodland Hills, CA 91367

  4   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  5
       November 21, 2017                    Stephanie Reichert                           /s/ Stephanie Reichert
  6    Date                                 Type Name                                    Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Ironclad Performance Wear (8300)       Debtor                            United States Trustee
Debtor, OUST, Committees               ICPW Liquidation Corporation      915 Wilshire Blvd., Suite 1850
                                       15260 Ventura Blvd., 20th Floor   Los Angeles, California 90017
                                       Sherman Oaks, CA 91403




Creditors Committee:



Committee Counsel                      Resources Global Professionals    Winspeed Sports (Shanghai) Co., LTD
Brown Rudnick LLP                      c/o Brent Waters                  c/o Brian Mitteldorf
Attn: Cathrine M Castaldi              17101 Armstrong Ave               Creditors Adjustment Bureau
2211 Michelson Dr 7th Fl               Irvine, CA 92614                  14226 Ventura Blvd.
Irvine, CA 92612                                                         Sherman Oaks, CA 91423

PT Sport Glove Indonesia
c/o Mark C. Robba
Kranoon Desa Pandowoharjo
Sleman Yogyakarta 55512
Indonesia




Equity Committee:



Equity Committee Counsel               Patrick W O’Brien                 Ronald Chez
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Scott Jarus
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